Case 2:05-cr-00107    Document 916   Filed 11/27/07   Page 1 of 21 PageID #: 20327



                        UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON




UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NOS. 2:05-00107-01
                                                          2:05-00107-02

GEORGE LECCO and
VALERIE FRIEND




                        MEMORANDUM OPINION AND ORDER


            Pending is defendants’ joint motion for a new trial

(“new trial motion”), filed July 6, 2007.



                                       I.



A.    The Charges and the Verdict



            On August 16, 2006, the government filed a third

superseding indictment alleging the following offenses:

      1.    Count One -- That defendants George Lecco (“Lecco”) and
            Valerie Friend (“Friend”) knowingly conspired with each
            other and with James Michael Kitchen, Charles T.
            Hatfield, and Patricia Burton to commit offenses in
            violation of 21 U.S.C. § 841(a)(1), that is knowingly
            and intentionally to distribute 500 grams or more of
            cocaine, in violation of 21 U.S.C. § 846;
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 2 of 21 PageID #: 20328



      2.    Counts Two through Four -- That Lecco used a firearm
            during and in relation to drug trafficking offenses for
            which he may be prosecuted in a district court in
            violation of 21 U.S.C. § 841(a)(1), namely, the knowing
            and intentional distribution of a quantity of cocaine,
            all in violation of 18 U.S.C. § 924(c)(1)(A);

      3.    Counts Five and Six -- That Lecco knowingly possessed
            certain firearms in and affecting interstate commerce
            after he had previously been convicted of a felony, in
            violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2);

      4.    Counts Seven through Ten -- That Lecco knowingly and
            intentionally distributed a quantity of cocaine in
            violation of 21 U.S.C. § 841(a)(1);

      5.    Count Eleven -- That Lecco and Friend committed murder
            with a firearm, during and in relation to a cocaine
            conspiracy, causing the death of Carla Collins, in
            violation of 18 U.S.C. §§ 924(c)(1)(A), 924(j)(1);

      6.    Count Twelve -- That Lecco and Friend killed Carla
            Collins for aiding a federal investigation, in
            violation of 18 U.S.C. §§ 1121(a)(2) and 2; and

      7.    Count Thirteen -- That Lecco and Friend, together with
            unnamed persons, knowingly conspired to commit offenses
            against the United States in violation of 18 U.S.C. §
            1512(c), namely, that they corruptly altered, destroyed
            and concealed objects with the intent to impair their
            integrity and their availability for use in an official
            proceeding, all in violation of 18 U.S.C. § 1512(k).


            On August 16, 2006, the government filed notices of

intent to seek the death penalty relating to each defendant

respecting Counts Eleven and Twelve of the third superseding

indictment.     On May 11, 2007, the jury convicted the defendants

on all counts.       On May 29, 2007, the jury unanimously found that

sentences of death were appropriate on Counts Eleven and Twelve

as to both defendants.


                                      2
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 3 of 21 PageID #: 20329




            Defendants’ motion lists 39 separate grounds for a new

trial as follows:

      1.    The government’s removal of the only black venire
            member (J.P.) by peremptory challenge requires a new
            trial;

      2.    The dismissal of a venire member (A.A.) who could
            impose the death penalty if a defendant might be
            dangerous in the future requires a new trial;

      3.    The additional dismissal of other venire members over
            objection or refusal to excuse potential jurors
            (including but not limited to A.C., S.P., D.H. (Lecco
            only), G.C., J.C., K.W., R.C., M.N., S.W., R.S., B.J.
            and W.U.) related to the penalty to be imposed also
            requires a new trial;

      4.    The repeated contact between jury foreman B.S. and his
            employer during trial requires an evidentiary hearing
            and a new trial;

      5.    The refusal to grant the defendants separate trials for
            the guilt phase was prejudicial error;

      6.    The refusal to grant separate sentencing hearings to
            each defendant is prejudicial error;

      7.    The court’s editing of the taped interview of Carmella
            Blankenship by Lieutenant Cliff Akers, which putatively
            excluded key points implicating Lecco as the murderer,
            was prejudicial error and requires a new trial for
            Friend;

      8.    The exclusion of Patricia Burton’s statement, which
            implicated Lecco as the murderer, to her lawyer, who
            then passed the information on to Lieutenant Akers, was
            prejudicial error requiring a new trial for Friend;

      9.    Patricia Burton volunteered during her testimony that
            she took a polygraph exam, resulting in prejudicial
            error;


                                      3
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 4 of 21 PageID #: 20330



      10.   Prejudicial error resulted from the government allowing
            Patricia Burton to falsely testify that she did not hit
            the victim with a rock, thereby causing her death;

      11.   Patricia Burton was incompetent due to amnestic
            disorder and retardation, resulting in prejudicial
            error and, at a minimum, a new penalty trial is
            warranted because the jury necessarily based a death
            sentence on Patricia Burton’s testimony;

      12.   Charles Kinder was also incompetent due to mental
            illness and his testimony resulted in prejudicial error
            inasmuch as it was inherently unreliable;

      13.   It was prejudicial error to disallow evidence regarding
            “third party guilt[,]” resulting in the jury not
            learning of J.F. Smith’s confession to the murder;

      14.   It was prejudicial error to exclude J.F. Smith’s
            confession to burning the trailer and burying the
            victim’s body, a confession which was identical to that
            of Walt Harmon, which deprived the jury of having the
            necessary information for an accurate determination of
            guilt/innocence;

      15.   It was prejudicial error to exclude testimony that
            others such as Walt Harmon and J.F. Smith were suspects
            and arrested for the murder;

      16.   It was prejudicial error to exclude testimony that Gab
            Frazier was a suspect who had a motive to kill the
            victim;

      17.   There was insufficient evidence of Friend’s involvement
            in Lecco’s drug conspiracy;

      18.   There was insufficient evidence that Friend caused the
            victim’s death;

      19.   There was insufficient evidence that Lecco caused the
            victim’s death;

      20.   There was no evidence indicating Valeri Friend was
            aware that the victim was a federal informant;


                                      4
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 5 of 21 PageID #: 20331



      21.   It was prejudicial error to refuse to instruct the jury
            regarding Lecco’s theory of defense;

      22.   It was prejudicial error to refuse instruction
            regarding the statutory mitigating circumstance of
            “victim consent[;]”

      23.   It was prejudicial error to refuse instruction on the
            consequences of non-unanimity;

      24.   It was prejudicial error to not instruct the jury, or
            require findings, on residual doubt;

      25.   It was prejudicial error to instruct the jury regarding
            all threshold mental states alleged in the third
            superseding indictment as to both defendants;

      26.   There was insufficient evidence to support a finding
            that the murder was heinous, cruel, and depraved;

      27.   There was insufficient evidence that the victim was
            killed after substantial planning and premeditation;

      28.   There was insufficient evidence of the “payment or the
            promise of payment of anything of pecuniary value[;]”

      29.   There was insufficient evidence that the victim was
            murdered because Lecco wanted (1) to “prevent [her] . .
            . from providing any additional information and
            assistance to law enforcement authorities regarding a
            federal investigation, or (2) to retaliate against the
            victim for having provided assistance to law
            enforcement authorities with information regarding the
            defendant’s criminal activity, or both;

      30.   The aggravating circumstance of “substantial planning
            and premeditation” is unconstitutional;

      31.   The aggravating circumstance of “heinous, cruel and
            depraved” is unconstitutional;

      32.   The aggravating circumstance of “pecuniary gain” is
            unconstitutional;

      33.   It was prejudicial error to sustain objections by the
            government during closing argument by Friend’s counsel;


                                      5
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 6 of 21 PageID #: 20332




      34.     The invitation to the jurors to deliberate Friday night
              and/or Saturday coerced the death verdict;

      35.     Attorney General Gonzales required that the United
              States Attorney seek death sentences despite the
              absence of a request for permission to do so;

      36.     The termination of various United States Attorneys by
              Attorney General Gonzales, in at least one case due to
              disagreements over seeking the death penalty, impaired
              the defendants’ request for reconsideration of the
              decision to seek the death penalty by the Department of
              Justice;

      37.     The death sentences are disproportionate as compared to
              the life-or-less sentence received by co-defendant Pat
              Burton;

      38.     The death sentences are disproportionate when compared
              to defendants in other cases;

      39.     For all the reasons previously stated, the death
              penalty is unconstitutional and the sentences of death
              should be set aside.


              The memorandum in support of the new trial motion

discusses few of the foregoing arguments.1           Of the 39 arguments

offered, the memorandum in support discusses only three, namely

(1) the refusal to grant severance during the guilt phase, (2)

      1
          Defendants explain the default as follows:

           In order to keep within the time period ordered by
      the Court counsel has not be [sic] able to provide
      legal discussion for all of the points raised in the .
      . . [new trial motion] . . . .

(Def. Lecco’s Memo. in Supp. at 1). Defendants’ motion for a new
trial was due June 9, 2007. At defendants’ request, the
applicable time period was extended twice, resulting in a 27 day
extension of time.

                                      6
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 7 of 21 PageID #: 20333



the refusal to instruct the jury regarding Lecco’s theory of

defense instruction, and (3) the refusal to instruct concerning

the consequences of non-unanimity.



                                      II.



A.    Governing Standard



            Rule 33(a) provides that a district court may “vacate

any judgment and grant a new trial if the interest of justice so

requires.”    Fed. R. Crim. P. 33(a); United States v. Lentz, 383

F.3d 191, 219 (4th Cir. 2004).         A district court, however,

“‘should exercise its discretion . . . sparingly’ and . . .

should do so on evidentiary grounds ‘only when the evidence

weighs heavily against the verdict.’”          United States v. Perry,

335 F.3d 316, 320 (4th Cir. 2003) (quoting United States v.

Wilson, 118 F.3d 228, 237 (4th Cir. 1997)).


            In particular, a reviewing court addressing a

sufficiency challenge “must view the evidence in the light most

favorable to the government and inquire whether any rational

trier of fact could find the essential elements of the crime

beyond a reasonable doubt.”         United States v. Wilson, 118 F.3d

228, 234 (4th Cir. 1997); see United States v. Higgs, 353 F.3d


                                       7
Case 2:05-cr-00107    Document 916   Filed 11/27/07   Page 8 of 21 PageID #: 20334



281, 313 (4th Cir. 2003) (holding that a conviction must be

sustained if there is “‘evidence that a reasonable finder of fact

could accept as adequate and sufficient to support a conclusion

of a defendant's guilt beyond a reasonable doubt’”) (quoting

United States v. Burgos, 94 F.3d 849, 862 (4th Cir. 1996) (en

banc)).    The fact finder, not the court, assesses the credibility

of witnesses and resolves any evidentiary conflicts. See Wilson,

118 F.3d at 234; United States v. Arrington, 719 F.2d 701, 704

(4th Cir. 1983). “Those functions are reserved for the jury, and

if the evidence supports different, reasonable interpretations,

the jury decides which interpretation to believe.”               Wilson, 118

F.3d at 234 (internal quotation marks omitted).



B.    Analysis



            Regarding the first assignment of error relating to the

government’s peremptory challenge of the only African-American

venire member, the government offered a race-neutral reason for

its decision.        The court adopts and incorporates herein its bench

findings and ruling respecting the defendants’ challenge pursuant

to Batson v. Kentucky, 476 U.S. 79 (1986), and its progeny.                 The

court discerns no error.



                                       8
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 9 of 21 PageID #: 20335



            Regarding assignments of error 2 and 3, the court

relies upon its bench findings and rulings respecting each juror

named by the defendants in their new trial motion.              The record

adequately reflects the reasons justifying the discretionary

dismissal or retention of each potential juror.             The court

discerns no error.


            Regarding assignment of error 4, the court made known

to counsel the employer-employee issue relating to B.S. after

learning of the employer’s concerns from the jury administrator.

The record reflects the circumstances were fully disclosed to

counsel who, although offered the weekend to consider the matter

more fully, informed the court after time for deliberation that

no further action was necessary.2 (Tr. at 763-64, 822).               The

court discerns no error.

      2
      The provisional transcript reflects the following
statements of counsel when called upon to disclose their position
on the matter:

      MR. McVEY: And at this point, I don't believe any of
      us feel that anything should specifically be done with
      him until he, himself, you know, brings the problem to
      our attention.

      THE COURT:     Is that the sense of the group?

      MR. McNALLY:     Yes, Your Honor, it is.

      MR. McCAMIC:     Yes, Your Honor, that's correct.

      THE COURT:     All right.     We'll leave it at that.

(Tr. at 822).

                                       9
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 10 of 21 PageID #: 20336



             Regarding assignments of error 5 and 6, the court

adopts and incorporates herein its January 29, 2007, memorandum

opinion and order denying Lecco’s motion to sever and Friend’s

motion for a separate trial.        As noted by the government, one

searches the record largely in vain for the development of

antagonistic defenses at trial.         Additionally, those studying the

subject have concluded that “the current weight of authority is

against severance of multiple defendants’ trials at the penalty

phase.”    1 Molly Treadway Johnson & Laural L. Hooper, Resource

Guide for Managing Capital Cases 45 (2005).             As the evidence came

in and the defendants’ theories of the case developed, it became

apparent that they effectively mounted a joint trial strategy in

many respects.       The court, accordingly, adheres to its position

throughout that severance was inappropriate under the

circumstances.       The court additionally discerns no error

respecting the failure to sever at either the guilt or sentencing

phases.


             Regarding assignments of error 7 through 10, the court

adopts and incorporates herein its bench findings and rulings.

Based upon those findings and rulings, and the additional reasons

offered by the government at paragraphs 9-12 of its response

brief, the court discerns no error based upon the challenged

evidentiary rulings.


                                      10
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 11 of 21 PageID #: 20337



             Regarding assignments of error 11 and 12, the

commentators are in accord that Rule 601, and indeed the Federal

Rules of Evidence generally, view with disfavor the categorical

exclusion of witnesses on mental competency grounds.               3 Christo-

pher B. Mueller & Laird C. Kirkpatrick, Federal Evidence § 233

(2d ed. 2006); Steven Goode & Olin Guy Wellborn, Courtroom

Handbook Fed. Evid. § 601 (2007) (“Rule 601 abolishes all

objections to a witness's competency except those specifically

mentioned in the rules of evidence. It thereby eliminates such

grounds for incompetency as age, religion, conviction of a crime,

interest, and mental capacity, treating these (with the exception

of religion) as bearing on a witness's credibility.”); 148 A.L.R.

1140 (1944 and supp. 2007)(“The trend . . . clearly indicates

that there is now little question as to the competency of a

mentally deficient witness, if he is capable of appreciating the

nature of an oath and able to answer questions which tend to

establish a connected pattern, with a reasonable degree of

accuracy.”).


             Our court of appeals takes a similar approach.             See

Lockard v. Parker, 164 F.2d 804, 805 (4th Cir.              1947) (noting

witness showed symptoms of a mental disturbance and was actually

committed to a mental hospital and diagnosed at one point with


                                      11
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 12 of 21 PageID #: 20338



paranoid schizophrenia but observing that “[A] person of unsound

mind is not necessarily an incompetent witness but may be

permitted to testify if he has sufficient understanding of the

nature of an oath and is capable of giving a correct account of

what he has seen and heard.”); see also United States v. Lightly,

677 F.2d 1027, 1028 (4th Cir. 1982); United States v.

Whittington, 26 F.3d 456, 466 (4th Cir. 1994).              In view of the

liberal, governing standards, the court discerns no error in the

decision not to categorically exclude either Burton or Kinder as

witnesses.


             Regarding assignments of error 13 through 15, the court

adopts and incorporates herein its bench findings and rulings.

Based upon those findings and rulings, and the additional reasons

offered by the government at paragraphs 15-17 of its response,

along with the documents incorporated therein by the government,

the court discerns no error resulting from the challenged

evidentiary rulings.


             Regarding assignment of error 16, the government

contends the record reflects the court did not exclude testimony

indicating that Gab Frazier was motivated to kill the victim.

(See Tr. at 85-91).       Defendants do not reply on the point.

Accordingly, absent additional development of the matter by the

defendants, the court discerns no error.

                                      12
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 13 of 21 PageID #: 20339



             Regarding assignment of error 17, the court notes

testimony from Michael Looney, Brenda Hinkle, Gary Collins, and

Zetta Lockard reflecting Friend’s involvement in the charged

controlled substance conspiracy.           Michael Looney testified as

follows:

      Q. Have you ever seen the defendant Valerie Friend at
      the Pizza Plus?

      A.   Yes.

      Q. Have you ever seen her going into the back room at
      the Pizza Plus?

      A.   Yes.

      Q.   About how many times?

      A.   Once, twice -- once, I think.         Twice.

      Q. Who was in the back room there at the time she went
      in?

      A.   I think Porgy was.

(Tr. at 174; see 176-77).       The testimony came amid Looney

recounting the drug dealing activity occurring at the Pizza Plus

by Lecco, Jake Hatfield, and Pat Burton and that the controlled

substances that were sold were retrieved from Lecco’s room at the

back of the restaurant.       (Id. at 173-76).


             Regarding Ms. Hinkle, the following testimony was

adduced:

      Q. Do you recall where in the Pizza Plus you saw the
      larger one, where in that room?

                                      13
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 14 of 21 PageID #: 20340




      A. There's like a brown cabinet in his room, a large
      cabinet.

      Q.   Uh-huh.

      A.   Usually he had stuff in it.

      Q.   What about the smaller pistol?

      A.   Under the pillow.

      Q. Is that the same pillow under which he had the
      cocaine?

      A.   Yeah, the coke.

      Q.   Do you know a woman named Valerie Friend?

      A.   Yes, sir.

             . . . .

      Q.   Have you ever seen Ms. Friend at the Pizza Plus?

      A.   Yes, sir.

      Q.   About how many times?

      A. About ten or twelve times I've seen her in the
      back.

      Q.   When you say in the back, where in the back?

      A. Sometimes in the kitchen and sometimes in the back
      room talking to Porgy.

      Q. At what time period . . . -- when you saw Ms.
      Friend at the Pizza Plus, about when was that?

      A. Well, on and off just several times, you know,
      throughout a couple of years. And then a lot more in
      2005.

(Id. at 233).

                                      14
Case 2:05-cr-00107   Document 916    Filed 11/27/07   Page 15 of 21 PageID #: 20341




             In addition to this testimony, Gary Collins testified

that Friend would secure controlled substances for him from Lecco

“out of the Pizza Plus . . . .”          (Id. at 463; see also Id. at

464-66).     Ms. Lockard added that she provided Friend money for

cocaine on 8-10 occasions, which Friend then used to purchase

cocaine from the Pizza Plus.          (Id. at 482, 484-86).        Taken in its

entirety, and in the light most favorable to the government, the

evidence demonstrates that patrons gave Friend money to purchase

small amounts of cocaine from Lecco in the back room of the Pizza

Plus.    Additionally, however, Friend’s most substantial

contribution to the conspiracy, as alleged by the government,

“was the killing of Carla Collins.”           (Govt.’s Resp. ¶ 19).


             The trial record in its entirety contains evidence that

a reasonable finder of fact could accept as adequate and

sufficient to support a finding of Friend’s guilt as to Count One

beyond a reasonable doubt.          The court concludes the assignment of

error is meritless.


             Assignments of error 18 and 19 contend there was

insufficient evidence to support a finding that Friend or Lecco

caused the victim’s death.          Among other witnesses, the jury

appears to have credited the testimony of Patricia Burton


                                       15
Case 2:05-cr-00107   Document 916    Filed 11/27/07   Page 16 of 21 PageID #: 20342



respecting Lecco’s and Friend’s involvement in the murder.

Burton testified at length concerning Lecco’s direction to her,

and to Friend through her, to kill the victim.               (Tr. at 520-37,

538-44, 549).


             There was additional testimony as well that Friend

carried through on the request.          (Id.)    As noted, other witness

testimony also supports the general account that Lecco ordered

the murder and Friend carried the plan to fruition.                (See, e.g.,

tr. at 638-48, 652 (testimony of Carmella Blankenship); tr. at

269-71, 295-96, 300-01 (testimony of Charles Hatfield)).                  The

trial record in its entirety contains evidence that a reasonable

finder of fact could accept as adequate and sufficient to support

a finding that both Friend and Lecco caused the victim’s death

beyond a reasonable doubt.          The court concludes the assignments

of error are meritless.


             Assignment of error 20 challenges the finding that

Friend was aware that the victim was acting as a federal

informant at the time of her death.           Assignment of error 29

essentially challenges the sufficiency of the evidence concerning

Lecco’s desire to murder the victim to prevent her further

cooperation with law enforcement or to retaliate against her for

such cooperation.

                                       16
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 17 of 21 PageID #: 20343



             Jake Hatfield testified of Friend’s statement that the

victim was killed because she was wearing a wire.              (Tr. at 295).

Taken in the light most favorable to the government, Friend also

was aware of the law enforcement search of the Pizza Plus

conducted in part by federal agents.           (Tr. at 705-06 (testimony

of Walter Harmon concerning his knowledge of the search warrant

executed at the Pizza Plus); see generally tr. at 902-07

(government summary of trial evidence supporting conspiracy

members’ knowledge of the victim’s status)).             This same evidence

supports the view that Lecco was likewise aware of the federal

nature of the investigation.        Indeed, Michael Kitchen testified

that Lecco advised him that the victim had been “working for the

feds.”    (Id. at 353).


             Although much of the evidence is circumstantial, the

trial record in its entirety contains evidence that a reasonable

finder of fact could accept as adequate and sufficient to support

a finding that Friend was aware that the victim was a federal

informant.     The same is true respecting Lecco’s desire to murder

the victim to prevent her further cooperation with law

enforcement or to retaliate against her for that cooperation.

The court, accordingly, concludes those assignments of error are

meritless.


                                      17
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 18 of 21 PageID #: 20344



             Assignment of error 21 challenges the refusal to

instruct the jury concerning a proposed theory of defense

instruction submitted by Lecco’s counsel.            As noted by the

government, the one-page instruction constitutes factual

argument.     The court discerns no error arising from its refusal

of the tendered instruction.


             Regarding assignments of error 22 through 25, the court

relies upon its bench findings and rulings respecting each

alleged error.       The record adequately reflects the reasons

justifying the respective decisions, and the court discerns no

error in its rulings.


             Regarding assignments of error 26 through 28, the trial

record in its entirety contains evidence that a reasonable finder

of fact could accept as adequate and sufficient to support

findings on each of the challenged aggravators beyond a

reasonable doubt.       The court concludes the assignments of error

are meritless.


             Regarding assignments of error 30 through 32 and 39,

the court adopts and incorporates herein it April 5, 2007,

memorandum opinion and order upholding the constitutionality of

the Federal Death Penalty Act.         United States v. Lecco, No. 2:05-


                                      18
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 19 of 21 PageID #: 20345



107, slip op. at 4 (S.D. W. Va. Apr. 5, 2007) (“Absent . . .

authority, the court is unwilling to strike down an Act of

Congress that has consistently withstood various constitutional

challenges. See, e.g., United States v. Fulks, 454 F.3d 410, 438

(4th Cir. 2006) (‘For these reasons, the evidentiary standard of

the FDPA withstands constitutional scrutiny.’).”              The court,

accordingly, concludes that the assignments of error are

meritless.


             Assignment of error 33 contends the court committed

prejudicial error in sustaining objections by the government

during closing argument by Friend’s counsel.             The objections were

well taken.     Counsel for Friend attempted to argue (1) that many

individuals had previously been released from death row as a

result of jury error, (2) that it was unfair to execute Friend

when gang leaders and serial killers receive life sentences, and

(3) that the government trial team would not be disappointed by a

life sentence.       The court discerns no error.


             Assignment of error 34 contends the court coerced a

death verdict by inviting the jurors to continue their

deliberations on Friday, May 25 and Saturday, May 26.               After

being offered the option to deliberate, the jury voted and

determined it would return to deliberate on Tuesday, May 28 after

several juror expressed concerns with pre-ordained personal

                                      19
Case 2:05-cr-00107    Document 916   Filed 11/27/07    Page 20 of 21 PageID #: 20346



commitments.     Noting those commitments, the court then observed

as follows:

      [I]n any event, those are commitments enough to be
      persuasive.

           You added the further statement [in your written
      response to the court]: Is there a reason for late
      evening deliberation or Saturday deliberation? Please
      explain.

           I think it would be apparent to all of you that
      we’re looking at a long weekend, and coupled with the
      holiday on Monday, and, of course, there is some value
      for you to continue deliberations while matters are
      fresh . . . .

      [O]f course, there would be no point in deliberating
      this evening unless you were fairly close to a verdict.
      And I think from your answers, that you’ve given me
      enough of an insight that it persuades me to find the
      better course to be to have you come back on Tuesday
      morning . . . .

           And so, that’s what we’ll plan to do, is to have
      you back at 9:30 on Tuesday morning to resume your
      deliberations. And I hope that is satisfactory to the
      rest of the jurors as well. And I see at least a few
      heads nodding that hadn’t answered before and a few
      smiles in addition to that.

(Tr. at 5-6).        The court discerns no error.


             Assignments of error 35 through 36 relating to Attorney

General Gonzalez do not in their abbreviated form approach the

showing required to vacate the verdict.               The court, accordingly,

rejects the arguments.


             Assignments of error 37 and 38 contend the death

sentences in this case are disproportionate when compared to the

                                       20
Case 2:05-cr-00107   Document 916   Filed 11/27/07   Page 21 of 21 PageID #: 20347



lesser sentence received by Pat Burton and defendants in other

cases.     As noted by our court of appeals, “[a] criminal sentence

violates the Equal Protection Clause only if it reflects

disparate treatment of similarly situated defendants lacking any

rational basis.”      United States v. Pierce, 409 F.3d 228, 234 (4th

Cir. 2005) (citing United States v. Roberts, 915 F.2d 889, 891

(4th Cir. 1990)).      Defendants have not made any attempt to

demonstrate a rational basis is lacking for the ultimate

sanctions to which they are subject versus sentences received by

other defendants.      The court, accordingly, discerns no error.



                                     III.



             Based upon the foregoing analysis, the court ORDERS

that defendants’ new trial motion be, and it hereby is, denied.



             The Clerk is directed to forward copies of this written

opinion and order to all counsel of record.

                                            DATED:   November 27, 2007


                                            John T. Copenhaver, Jr.
                                            United States District Judge




                                      21
